        Case 2:17-cv-01017-JEO Document 14 Filed 09/29/17 Page 1 of 1                      FILED
                                                                                  2017 Sep-29 AM 10:00
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION
BRUCE BLACKERBY,                           )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )   Case No. 2:17-cv-01017-JEO
                                           )
I.Q. DATA INTERNATIONAL, INC.,             )
                                           )
      Defendant.                           )

                            ORDER OF DISMISSAL
      A joint stipulation of dismissal has been filed in this action, signed by

counsel for both parties. (Doc. 13). Such a stipulation is effective without a court

order. See FED. R. CIV. P. 41(a)(1)(A)(ii); Anago Franchising, Inc. v. Shaz, LLC,

677 F.3d 1272, 1277 (11th Cir. 2012). Accordingly, this action is DISMISSED

WITH PREJUDICE, with the parties to bear their own respective fees, costs, and

expenses. The clerk is DIRECTED to close the file.

      DONE this 29th day of September, 2017.



                                       _________________________________
                                       JOHN E. OTT
                                       Chief United States Magistrate Judge
